                         Case 1:21-cr-00175-TJK Document 857-8 Filed 08/17/23 Page 1 of 2
  From: 724222796 John

  What town is the meetup in
                                                 1/20/2021 6:57:30 AM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x328240F6 (Size: 873086976 bytes)



                                                                                                   From: 573782641 Rufio Panman (owner)

                                                                                                   Should we do Leavenworth?
                                                                                                                                                  1/20/2021 7:49:30 AM(UTC-8)


                                                                                                 Source Info:
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                                                                                                 hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                 8138281883108468013/postbox/db/db_sqlite : 0x32620405 (Size: 873086976 bytes)



                                                                                                   From: 573782641 Rufio Panman (owner)

                                                                                                   Fuck it let’s do it!
                                                                                                                                                  1/20/2021 7:49:48 AM(UTC-8)


                                                                                                 Source Info:
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                                                                                                 8138281883108468013/postbox/db/db_sqlite : 0x32620793 (Size: 873086976 bytes)



                                                                                                   From: 573782641 Rufio Panman (owner)

                                                                                                   Feb 6th Leavenworth
                                                                                                                                                  1/20/2021 7:49:56 AM(UTC-8)


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                                                                                                 e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
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                                                                                                 8138281883108468013/postbox/db/db_sqlite : 0x326202C0 (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      Sorry my planning has been slow, I’ve been dealing with other planning as well and now
                                                      Biggs turning himself into the fbi is a complete mess...
                                                                                                                                                  1/20/2021 7:51:12 AM(UTC-8)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x326200D9 (Size: 873086976 bytes)



                                                                                   From: 573782641 Rufio Panman (owner)

                                                                                   This kinda shit us why we all need to be on the same page
                                                                                                                                                  1/20/2021 7:51:38 AM(UTC-8)


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                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/2
                                                                                37A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                8138281883108468013/postbox/db/db_sqlite : 0x326E6F61 (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      Officers only
                                                      Leavenworth SHTF meeting
                                                      Feb 6th
                                                      I’ll have a cabin up by tonight to pitch in on or you can get your own lodging.
                                                                                                                                                  1/20/2021 7:53:43 AM(UTC-8)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x326E6333 (Size: 873086976 bytes)




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                         Case 1:21-cr-00175-TJK Document 857-8 Filed 08/17/23 Page 2 of 2
  System Message System Message

                                                 1/20/2021 7:53:48 AM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x327722C0 (Size: 873086976 bytes)



  From: 625495084 Daniel Garris (poyb)

  How many beds nigger
                                                 1/20/2021 8:10:35 AM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x32871F43 (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      OFFICERS MEET FEB 6th LEAVENWORTH, WA
                                                      This meeting we will go over:
                                                      Secure Vetting
                                                      Communications
                                                      Bugout bags
                                                      SHTF safe locations
                                                      MOSD (ministry of self defense)
                                                      Bulk armor deals
                                                      6month-1yr plans
                                                      Uniform change (at rally’s)
                                                      There will be more to discuss that I’m not going to put up here for obvious reasons. This is a
                                                      very fragile time for the club, but we must be more vigilant than ever, not just for those who
                                                      look up to us in this club, but for our. Oh try as well. We are on the brink of absolute
                                                      war...uhuru
                                                      I figure each chapter could bring food items and we can cook our own food and maybe go
                                                      out for drinks on the town. (Covid willing) it’s looking to be about $2,000-$3,000 total for a
                                                      cabin. Which we could easily split. I’ll have something up by tonight.
                                                                                                                                                 1/20/2021 8:14:41 AM(UTC-8)


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                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x32871BC3 (Size: 873086976 bytes)



  System Message System Message

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Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x32871B20 (Size: 873086976 bytes)



                                                                                                  From: 573782641 Rufio Panman (owner)

                                                                                                  Bring sleeping bags or blow up matress
                                                                                                                                                 1/20/2021 8:16:31 AM(UTC-8)


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                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x32871845 (Size: 873086976 bytes)



                                                                                                  From: 573782641 Rufio Panman (owner)

                                                                                                                                                 1/20/2021 8:17:41 AM(UTC-8)


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                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x328713A7 (Size: 873086976 bytes)




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